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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
            Plaintiff,                     )
                                           )
     vs.                                   ) Case No. 4:22 CR 651 RWS/SPM
                                           )
SHAQUILLE PAYNE,                           )
                                           )
            Defendant.                     )


                                         ORDER

      The above-named defendant, having established the inability to retain private

counsel, being in need of counsel, and being entitled to the appointment of counsel under

the Criminal Justice Act, as amended, 18 U.S.C. § 3006(A),

             IT IS HEREBY ORDERED that the Federal Public Defender is appointed

to represent the above-named defendant in this matter.




                                         /s/ Stephen R. Welby
                                         STEPHEN R. WELBY
                                         UNITED STATES MAGISTRATE JUDGE

Dated this 18th day of November, 2022.
